          Case 1:18-cv-00289-JEB Document 50-8 Filed 10/05/20 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  GILBERTO RODRIGUEZ CHAVERRA,

                         Plaintiff,

  v.                                             Civil Action No. 18-0289 (JEB)

  U.S. IMMIGRATION AND CUSTOMS
  ENFORCEMENT, et al.,

                         Defendants.



                                      [PROPOSED] ORDER

         Upon consideration of Defendant U.S. Immigration and Customs Enforcement (“ICE”)

Opposition to Plaintiff’s Partial Motion for Summary Judgment, it is hereby:

         ORDERED that Plaintiff’s Partial Motion for Summary Judgement is DENIED;

         ORDERED that ICE complete processing all responsive non-exempt records no later than

February 5, 2021.




Dated:                                              _______________________
                                                    JAMES E. BOASBERG
                                                    United States District Judge
